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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION


  TEXAS BANKERS ASSOCIATION et al.,

                 Plaintiffs,                             CIVIL NO. 2:24-cv-00025-Z-BR

          v.                                             The Hon. Matthew J. Kacsmaryk
                                                         United States District Judge
  OFFICE OF THE COMPTROLLER OF
  THE CURRENCY et al.,

                 Defendants.


                  DEFENDANTS’ CONSOLIDATED BRIEF IN OPPOSITION
               TO PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

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       Defendants Board of Governors of the Federal Reserve System and Chairman Jerome

Powell (“Federal Reserve”), Office of the Comptroller of the Currency and Acting Comptroller

of the Currency Michael J. Hsu (“OCC”), and Federal Deposit Insurance Corporation and

Chairman Martin J. Gruenberg (“FDIC”)—collectively, the federal banking agencies

(“FBAs”)—respectfully submit this opposition to Plaintiffs’ Motion for a Preliminary Injunction

(ECF 19) and the memorandum of law in support (ECF 20, “Pl. Br.”).

                                        INTRODUCTION

       This lawsuit is straightforward: Plaintiffs seek to rewrite the Community Reinvestment

Act, 12 U.S.C. §§ 2901-2908 (“CRA”), to suit their ends, while the FBAs have faithfully applied

its text in the Final Rule being challenged (89 Fed. Reg. 6574 (Feb. 1, 2024)). The CRA

commands that the FBAs “assess [a bank’s] record of meeting the credit needs of its entire

community, including low- and moderate-income neighborhoods” as part of the examination of

that bank. 12 U.S.C. § 2903(a)(1). Yet the Plaintiffs ask this Court to graft onto this

unambiguous language two exclusions that are found nowhere in the CRA’s text: (1) an

exclusion of geographic areas where a bank conducts retail lending from the scope of a bank’s

“entire community,” and (2) an exclusion of a bank’s deposit activities from the scope of the

assessment as to whether a bank is meeting its entire community’s “credit needs.” Plaintiffs’

request that the Court impose exceptions that do not exist is a classic “rewrit[ing] of the statute,

which [courts] may not do.” Cheapside Materials, Ltd. v. Devon Energy Prod. Co., L.P., 2024

WL 886951, at *6 (5th Cir. Mar. 1, 2024).

       In contrast, the FBAs have acted consistently with Congress’s command to publish

“[r]egulations to carry out the purposes of” the CRA. 12 U.S.C. § 2905. Following Congress’s

direction to evaluate a bank’s record within its “entire community,” the FBAs have indicated in



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the Final Rule that they will assess a bank both in the geographic areas where the bank maintains

deposit-taking facilities and in other geographic areas where the bank conducts retail lending.

And consistent with Congress’s direction to assess the degree to which a bank is meeting the

“credit needs” of its entire community, the FBAs have indicated in the Final Rule that they will

assess various factors that are associated with “credit needs,” including the provision of deposit

products and services, which facilitate the ability to access credit.1

        Plaintiffs’ motion seeking preliminary relief also fails because they cannot show

irreparable harm. The Final Rule largely does not apply until 2026 and 2027, and Plaintiffs have

failed to demonstrate that timely and satisfactory preparation for the Final Rule requires costs

that are significant when properly considered in the context of banks’ overall finances. Further,

the public interest and balance of equities favor allowing the Final Rule to proceed. Among other

widely supported provisions, the Final Rule provides significant regulatory relief and lower

compliance costs for smaller institutions by increasing the asset size thresholds that determine

which performance tests apply to an institution. Granting Plaintiffs’ motion would delay this

relief for hundreds of smaller institutions for the benefit of comparatively fewer large

institutions.

        Because Plaintiffs cannot satisfy any of the factors necessary to obtain a preliminary

injunction, the FBAs respectfully request that their motion be denied.




1
  In addition to the problems with Plaintiffs’ lawsuit based on the CRA’s plain text, Plaintiffs also
are unlikely to succeed because they lack standing. Every plaintiff in this action is an association
purporting to sue on behalf of its members, Compl. ¶¶ 7-14, but they have not satisfied the
requirement that they identify by name at least one member who would have standing in its own
right or show all members of the association are affected by the challenged activity.
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                                    STATEMENT OF FACTS

       A.      Statutory Background

       The CRA was enacted in 1977 following years of “redlining” by banks, a practice in

which banks did not lend in certain communities, including those comprised primarily of low-

and moderate-income (“LMI”) neighborhoods. The CRA requires the FBAs, in examining an

institution, to “assess the institution’s record of meeting the credit needs of its entire community,

including [LMI] neighborhoods.” 12 U.S.C. § 2903(a)(1). The statute requires the FBAs to

assign one of four ratings to an institution and to publicly disclose the rating and a portion of the

agency’s written evaluation. See 12 U.S.C. § 2906(b). The statute also instructs the FBAs to take

an institution’s record of meeting the credit needs of the entire community “into account in its

evaluation of an application for a deposit facility.” 12 U.S.C. § 2903(a)(2).

       B.      The Final Rule

       The FBAs published the first CRA regulations in 1978. See 89 Fed. Reg. at 6580. Since

that time, the FBAs have revised and updated the regulations on various occasions, with the most

recent comprehensive update completed in 1995. Id. Yet the way that banking services are

provided has changed dramatically since then. For example, the “assessment areas” construct of

the 1995 rule, which refers to the geographic areas in which banks’ CRA performance is

evaluated, reflected the reality of how banks provided financial services at that time. There was

no mobile banking,2 and the comprehensive regime for interstate banking was in its infancy.3



2
  Mobile banking through cell-phone based applications began in the U.S. in 2007. See Banking
Goes Mobile, Time Magazine (Apr. 2, 2007), available at
https://content.time.com/time/business/article/0,8599,1605781,00.html.
3
  The Riegle-Neal Interstate Banking and Branching Efficiency Act of 1994 established a
comprehensive statutory scheme for interstate branching by removing many of the restrictions on
opening bank branches across state lines. Among other things, the law allowed banking


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       In promulgating the Final Rule at issue in this litigation, the FBAs determined that the

CRA regulations required revision to keep pace with technological and other changes in banking.

Id. at 6581. For instance, the increased decoupling of bank services from physical locations

explains why the Final Rule assesses a bank’s CRA performance in geographic areas where the

bank does not maintain deposit-taking facilities to effectuate the CRA’s instruction to assess how

well banks are meeting the credit needs of their “entire community.” See, e.g., id. at 6575.

       On June 3, 2022, the FBAs published a notice of proposed rulemaking (“NPR”) “to

update how CRA activities qualify for consideration, where CRA activities are considered, and

how CRA activities are evaluated.” 89 Fed. Reg. at 6574; see also 87 Fed. Reg. 33884 (June 3,

2022). The FBAs received approximately 950 unique comment letters in response to the NPR

from a variety of individuals and entities, including trade associations, banks, consumer and

public interest groups, and civil rights groups. 89 Fed. Reg. at 6584. While the Federal Register

notice for the Final Rule is 649 pages, 115 are devoted to the rule itself, with most of the

remaining 534 pages describing the evolution of the rule and responding to comments. Within

the 115 pages of the Final Rule’s regulatory text, there are four main performance tests—(1) the

Retail Lending Test, (2) the Retail Services & Products Test, (3) the Community Development

Financing Test, and (4) the Community Development Services Test—and each performance test

is only applicable to certain banks based on asset size and business model. See, e.g., Complaint

¶ 41 (distilling the Final Rule into a single chart on less than half a page).

       At issue in Plaintiffs’ motion are two of the four tests. First, as part of the Retail Lending

Test, the Final Rule uses retail lending assessment areas (“RLAAs”) and outside retail lending




organizations to acquire banks in any other state under a uniform, nationwide standard. See
https://www.federalreservehistory.org/essays/riegle-neal-act-of-1994.
                                                   4
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assessment areas (“ORLAs”) to evaluate a bank’s retail lending in its entire community. 89 Fed.

Reg. at 6735, 6738, 6758-59. Second, as part of the Retail Services and Products Test, the FBAs

evaluate a bank’s deposit products and digital services that are responsive to the needs of LMI

individuals. 89 Fed. Reg. at 6943.

       Retail Lending Assessment Areas. In addition to evaluating a bank’s record of meeting

community credit needs in the geographic areas where a bank maintains its deposit-taking

facilities (“facility-based assessment areas” or “FBAAs”), the Final Rule expands the current

assessment area framework by also evaluating certain banks’ retail lending performance in

RLAAs—areas where a bank has certain concentrations of retail lending outside of the bank’s

FBAAs. 89 Fed. Reg. at 6735. This approach recognizes that changes in banking have resulted in

banks serving communities that may extend beyond the geographic footprint of the bank’s

deposit-taking facilities. Id.; see also 87 Fed. Reg. at 33916. RLAAs apply only to large banks,

which are banks with assets of at least $2 billion (89 Fed. Reg. at 6598), and are only used in the

Retail Lending Test. Primarily branch-based large banks—i.e., large banks that conduct more

than 80% of their retail lending within their FBAAs—are exempt from RLAAs. 89 Fed. Reg. at

6735. Based on historical data, the FBAs estimate that the requirement to delineate RLAAs

would have applied to only 63 large banks if it had been in effect from 2018 to 2020. 89 Fed.

Reg. at 6740.4

       Outside Retail Lending Areas. In addition to RLAAs, the Final Rule requires certain

banks to be evaluated in the bank’s ORLA, which consists “of the nationwide area outside of the




4
 To put this figure into context, at the end of the third quarter of 2023, there were 4,614 insured
depository institutions. See FDIC Quarterly Banking Profile Graph Book, Q3 2023, Number of
FDIC-Insured Institutions, available at https://www.fdic.gov/analysis/quarterly-banking-
profile/graph-book/2023sep/DSTRUA1.html.
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bank’s facility-based assessment areas and applicable retail lending assessment areas, excluding

certain nonmetropolitan counties.” 89 Fed. Reg. at 6577.5 By evaluating retail lending in

geographic areas that do not meet the lending thresholds captured by the RLAAs, the ORLA “is

designed to facilitate a comprehensive evaluation of a bank’s retail lending to low- and

moderate-income individuals and communities under the Retail Lending Test, and to adapt to

changes in the banking industry, such as mobile and online banking.” Id. at 6577. Although

phrased as a “nationwide” construct, only those component geographic areas of the ORLA where

a bank actually conducts retail lending can impact the bank’s performance conclusion in the

ORLA. Id. at 7148.

       Consideration of Deposit Products and Digital Services. Plaintiffs’ motion also

challenges the FBAs’ authority to consider certain banks’ deposit products and digital services as

part of the Retail Services and Products Test.6 With respect to deposit products (which serve only

as a “plus factor” and cannot adversely affect a bank’s performance), the Final Rule requires the

FBAs to assess the availability and usage of the bank’s deposit products responsive to the needs

of LMI individuals, families, and households, including whether deposit products offer low-cost

features (e.g., accounts with no or low minimum balance requirements or monthly fees), features

facilitating accessibility (e.g., in-network ATM access, debit cards, and immediate access to



5
  Every large bank is evaluated in its ORLA. 89 Fed. Reg. at 7115. An intermediate bank, or a
small bank that opts into the Retail Lending Test, is also evaluated on a mandatory basis in its
ORLA if it conducts a majority of its retail lending outside of its FBAAs. Id. An intermediate or
small bank that conducts less than a majority of its retail lending outside of its FBAA may
choose to have its ORLA evaluated on an optional basis. Id.
6
  The Final Rule requires evaluation of deposit products only for banks with more than $10
billion in assets. 89 Fed. Reg. at 7121. The digital services evaluation being challenged by
Plaintiffs applies only to banks with more than $10 billion in assets, and to large banks that had
assets less than or equal to $10 billion and do not operate branches. Id. at 7120. All other large
banks can have deposit products, as well as digital and other delivery systems, evaluated at their
option. Id. at 7120-21.
                                                 6
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funds when cashing certain checks), and other features facilitating access to individuals without

banking or credit histories. 89 Fed. Reg. at 7121. With respect to digital services, the Final Rule

requires the FBAs to consider, as part of an evaluation of the bank’s digital and other delivery

systems for delivering retail banking services, “[t]he number of checking and savings accounts

opened each calendar year during the evaluation period digitally and through other delivery

systems in low-, moderate-, middle-, and upper-income census tracts” and the number of

accounts active at year-end. Id.

       As the Final Rule explains, “the agencies have found that there is a sufficient nexus

between deposit products and the provision of credit such that . . . it is appropriate to evaluate

deposit accounts responsive to the needs of [LMI] individuals, families, or households.” Id. at

6943. With respect to digital services, the FBAs noted that “[b]ecause usage of online and mobile

banking delivery systems by households is pervasive and is expected to continue to grow, . . .

these trends support a renewed focus on the evaluation of digital and other delivery systems”

with respect to how products are accessed. Id. at 6934.

       Final Rule Effective Dates. The Final Rule is effective on April 1, 2024, with staggered

applicability dates of April 1, 2024, January 1, 2026, and January 1, 2027. Provisions with few

changes or limited effects—for example, the provisions on authority, purpose, scope, schedule of

planned examinations, and public engagement—and the transition rules, are applicable April 1,

2024. Other provisions, including those dealing with RLAAs, ORLAs, and the assessment of

deposit products and services, become applicable January 1, 2026, except for the data reporting

requirements, which become applicable January 1, 2027. 89 Fed. Reg. at 6578-79.

       C.      Support for the Final Rule

       In addition to other stakeholders, various banks expressed support for different aspects of



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the Final Rule. For example, there was widespread support for the FBAs’ efforts to adapt the

CRA regulations based on how banking has evolved. A bank in Texas noted that “the need to

modernize the CRA grows more pressing as technology and the financial services industry

evolve to serve the needs of customers.”7 Similarly, a Mississippi bank indicated that CRA

regulation had “become out of sync with the way [that] consumers expect to use technology to

access financial products and services,” and therefore “[t]he need to update CRA has been

present for years and will grow more pressing as technology and the financial services industry

continue to evolve.”8 A Nebraska bank noted that “[t]he need to update CRA has existed for

years,” especially as banks use “technology advances to generate growth outside of traditional

assessment areas.”9 And a bank in Ohio noted that “the current CRA regulations are outdated . . .

[and] impose unnecessary compliance burdens.”10

       There was also significant support for the increased asset thresholds for small and

intermediate banks. Specifically, the threshold for classifying an institution as “small” currently

includes banks with assets under $391 million, and the Final Rule raises this figure to $600

million. 88 Fed. Reg. 87895, 87897 (Dec. 20, 2023); 89 Fed. Reg. at 6575. Likewise, the

threshold for intermediate banks is currently at a maximum of $1.564 billion, and is being raised

to $2 billion. 88 Fed. Reg. at 87897; 89 Fed. Reg. at 6575. A bank in Missouri with $1.16 billion

in assets supported the higher threshold for intermediate banks, which “would allow community

banks room for expansion in continuing to meet the needs of their communities without facing

the additional burden of collecting [] data that is required for Large Banks.”11 A Mississippi



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  https://www.regulations.gov/comment/OCC-2022-0002-0469.
8
  https://www.regulations.gov/comment/OCC-2022-0002-0337.
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  https://www.regulations.gov/comment/OCC-2022-0002-0144.
10
   https://www.regulations.gov/comment/OCC-2022-0002-0360.
11
   https://www.regulations.gov/comment/OCC-2022-0002-0267.
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bank, with $1 billion in assets, expressed support for adjusting the caps “to avoid imposing

regulatory burden on the smallest banks.”12 A bank in New Hampshire, with $350 million in

assets, likewise “appreciate[d] the agencies’ effort to tailor the proposal to avoid imposing

regulatory burden on smaller community banks like us,” and noted that the “proposed caps

would save us time and money to invest back into our community.”13 And a Minnesota bank

indicated that it would fall under the $600 million threshold for small banks, which would allow

it “to remain focused on providing the best service that we can . . . rather than spending valuable

time and resources on additional tracking, paperwork, retraining staff, etc.,” and “that if

measures such as increasing these thresholds are not taken, . . . [a]dded regulatory burden will

increase our overhead costs, forcing us to find ways to increase our income through pricing and

fees.”14

           D.     This Lawsuit

           In their Complaint, Plaintiffs bring two claims for relief: (1) a claim that the FBAs

exceeded their statutory authority under the Administrative Procedure Act (“APA”), 5 U.S.C.

§ 706(2)(A), (C), because the Final Rule assesses banks “on their responsiveness to credit needs

outside of their geographic deposit-taking footprint” and on “their digital delivery systems and

deposit products” (ECF 4 ¶¶ 96-97); and (2) a claim that the Final Rule is “arbitrary and

capricious” under the APA, 5 U.S.C. § 706(2)(A). Among other relief, Plaintiffs seek an “order

and judgment holding unlawful, enjoining, and setting aside the Final Rule as illegal or otherwise

impermissible.” ECF 4 at 56.




12
   https://www.regulations.gov/comment/OCC-2022-0002-0337.
13
   https://www.regulations.gov/comment/OCC-2022-0002-0674.
14
   https://www.federalreserve.gov/SECRS/2022/November/20221122/R-1769/R-
1769_071922_141866_463638826187_1.pdf.
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        Shortly after filing their Complaint, Plaintiffs filed their motion for a preliminary

injunction. The motion seeks relief based only on the first claim, that the FBAs exceeded their

statutory authority. The motion asks that the entire Final Rule be enjoined “pending the

resolution of this lawsuit,” and “that the effective date of April 1, 2024, and all implementation

dates be extended day for day for each day the injunction remains in place.” ECF 19-1 at 4-5.

                                        LEGAL STANDARD

        “A preliminary injunction ‘is an extraordinary and drastic remedy, not to be granted

routinely, but only when the movant, by a clear showing, carries a burden of persuasion.’” Black

Fire Fighters Ass’n of Dallas v. Dallas, 905 F.2d 63, 65 (5th Cir. 1990). “The decision to grant a

preliminary injunction is to be treated as the exception rather than the rule.” Avmed Inc. v.

Browngreer PLC, 300 F. App’x. 261, 264 (5th Cir. 2008) (quotation omitted); see also Winter v.

Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (“A preliminary injunction is an extraordinary

remedy never awarded as of right.”).

        A preliminary injunction “should only be granted when the movant has clearly carried the

burden of persuasion” on each of four factors: “(1) a substantial likelihood that plaintiff will

prevail on the merits; (2) a substantial threat that plaintiff will suffer irreparable injury if the

injunction is not granted; (3) that the threatened injury to the plaintiff outweighs the threatened

harm the injunction may do to [the] defendant; and (4) that granting the preliminary injunction

will not disserve the public interest.” Anderson v. Jackson, 556 F.3d 351, 360 (5th Cir. 2009); Air

Prods. and Chems., Inc. v. GSA, 2023 WL 7272115, at *2 (N.D. Tex. Nov. 2, 2023). The third

and fourth factors “merge when the Government is the opposing party,” Air Prods., 2023 WL

7272115, at *15 (internal quotation omitted), and “[a] plaintiff’s failure to demonstrate any one

of these factors is sufficient to deny injunctive relief.” Id. at *2 (citing Allied Mktg. Grp., Inc. v.



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CDL Mktg., Inc., 878 F.2d 806, 809 (5th Cir. 1989)); see also Black Fire Fighters Ass’n, 905 F.2d

at 65 (“denial of a preliminary injunction will be upheld where the movant has failed sufficiently

to establish any one of the four criteria” (emphasis in original)). A preliminary injunction will not

issue “simply to prevent the possibility of some remote future injury;” rather, irreparable injury

must be “likely [to occur] . . . before a decision on the merits can be rendered.” Winter, 555 U.S.

at 22 (internal quotations omitted).

                                          ARGUMENT

I.     PLAINTIFFS HAVE NOT DEMONSTRATED A SUBSTANTIAL LIKELIHOOD
       THAT THEY WILL PREVAIL ON THE MERITS

       A.      The FBAs Did Not Exceed Their Statutory Authority By Appropriately
               Applying the Phrase “Entire Community”

       Contrary to Plaintiffs’ argument, the FBAs have not exceeded their statutory authority in

issuing a rule that, among other provisions, appropriately applies the phrase “entire community.”

As reflected in the CRA, that phrase unambiguously includes the geographic areas where a bank

serves its customers.

               1.       The CRA requires the FBAs to assess a bank in its “entire
                        community,” which includes all geographic areas where the bank
                        serves its customers.

       The CRA commands the FBAs to take an expansive view in assessing a bank’s

performance under the statute, indicating that the FBAs should “assess the institution’s record of

meeting the credit needs of its entire community, including low- and moderate-income

neighborhoods, consistent with the safe and sound operation of such institution.” 12 U.S.C.

§ 2903(a)(1) (emphasis added). And the CRA directs the FBAs to publish “[r]egulations to carry

out the purposes of this chapter.” 12 U.S.C. § 2905. The FBAs have not exceeded this broad

grant of authority in the statute by articulating in the Final Rule that a bank’s “entire community”



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includes both the geographic areas where a bank maintains deposit-taking facilities and other

geographic areas where a bank conducts retail lending.

       Plaintiffs fail to meet their heavy burden to demonstrate likelihood of success because

their theory ignores that the term “entire” modifies “community.” The term “entire” is sweeping

in scope and means “having no element or part left out.” Webster’s New Collegiate Dictionary

381 (1976).15 And “community” generally has a geographic meaning, such as “the people with

common interests living in a particular area.” Id. at 228. Consistent with these definitions, in the

Final Rule, the areas in which banks’ retail lending performance is evaluated—FBAAs, RLAAs,

and ORLAs—are geographic in nature and capture those areas where a bank serves its

customers. See, e.g., 89 Fed. Reg. at 6577 (describing these three concepts under the heading

“Geographic Areas in Which a Bank’s Activities Are Considered”). Thus, the FBAs applied

Congress’s command that a bank must be assessed based on its performance in its “entire

community,” which means that no part of the geographic areas where a bank’s customer base is

located should be “left out.” In particular, Congress did not require that the FBAs exclude

geographic areas where a bank provides customers with retail loans from a bank’s “entire

community,” and the FBAs did not do so in the Final Rule.16

       Indeed, from the earliest days of implementing the CRA, the FBAs have acted



15
   Terms undefined in a statute receive ordinary meanings. Taniguchi v. Kan Pac. Saipan, Ltd.,
566 U.S. 560, 566 (2012).
16
   Notably, the Final Rule provides for state, multistate, and nationwide consideration of (and
beneficial credit for) community development activities for large banks under the Community
Development Financing Test and for limited purpose banks under the Community Development
Financing Test for Limited Purpose Banks. 89 Fed. Reg. at 6577-78. While this broad geographic
consideration of performance for community development activities is similar to that for retail
lending activities, Plaintiffs inconsistently have not mounted a challenge to the aspect of the
Final Rule addressing community development activities because it is something they like. See,
e.g., Comment Letter of ABA et al., at 31 (Aug. 5, 2022) (noting “strong[] support” for this
provision) (available at https://www.regulations.gov/comment/OCC-2022-0002-0484).
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consistently with Congress’s mandate to assess a bank’s performance in its “entire community.”

The first rule implementing the CRA stated: “Each [bank] shall prepare, and at least annually

review, a delineation of the local community or communities that comprise its entire community,

without excluding low- and moderate-income neighborhoods.” 43 Fed. Reg. 47144, 47149 (Oct.

12, 1978). Similarly, the first examination manual implementing the CRA indicated that “a

statewide branching institution [might] serve a number of ‘local communities,’ the sum total of

which would constitute its ‘entire community.’” Community Reinvestment Act Examination

Procedures 9 (Dec. 1978).17 And “entire community” was not understood to exclude areas where

a bank conducted retail lending. To the contrary, the first rule indicated that a bank could define

“community” as its “effective lending territory, which is defined as that local area or areas

around each office or group of offices where it makes a substantial portion of its loans.” 43 Fed.

Reg. at 47149.

       In their discussion of the concept of “community,” Plaintiffs argue that “Congress limited

CRA assessment areas to those communities surrounding a bank’s deposit-taking facilities” and

claim that this desired limitation is found in the “local communities” language in 28 U.S.C.

§ 2901. Pl. Br. at 10. But section 2901 does not contain any textual limits as to CRA assessment

areas. Moreover, that section is titled “Congressional findings and statement of purpose.”

Congress imposes obligations through the operative sections of a statute, not through statements

about findings and purpose. See, e.g., Nat’l Org. for Women, Inc. v. Scheidler, 510 U.S. 249, 260

(1994) (“the quoted statement of congressional findings is a rather thin reed upon which to base a

requirement . . . neither expressed nor, we think, fairly implied in the operative sections of the




17
  Available at https://fraser.stlouisfed.org/title/district-notices-federal-reserve-bank-dallas-
5569/regulation-bb--community-reinvestment-act-542590.
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Act”); City of Joliet v. New West, L.P., 562 F.3d 830, 836-37 (7th Cir. 2009) (rejecting reliance on

“findings and purpose” clause because, “in legislation details matter,” and courts must apply “the

concrete rules that the political branches have selected”); Bissette v. Colonial Mortg. Corp. of

D.C., 477 F.2d 1245, 1246 n.2 (D.C. Cir. 1973) (a “general section setting forth legislative goals

neither constitutes an operative section of the statute nor prevails over the specific provisions”).

The operative language of the CRA at issue here is “entire community” in 12 U.S.C.

§ 2903(a)(1).

        Moreover, even if Plaintiffs were correct that the phrase “local communities” implies an

unwritten limitation based on the locations of a bank’s deposit-taking facilities (Pl. Br. at 10),

Congress opted for the broader formulation of “entire community.” 12 U.S.C. § 2903(a)(1). This

is significant. It is a “well settled rule of statutory construction that where different language is

used . . . in different parts of a statute it is presumed that the Legislature intended a different

meaning and effect.” In re Ramirez, 204 F.3d 595, 599 (5th Cir. 2000); accord Roberts v. Sea-

Land Servs., Inc., 566 U.S. 93, 102 n.5 (2012) (“[W]hen the legislature uses certain language in

one part of the statute and different language in another, the court assumes different meanings

were intended.” (quotation omitted)). Plaintiffs’ construction of the CRA to require that certain

communities be ignored in CRA examinations is irreconcilable with Congress’s use of the phrase

“entire community” in the operative text and should be rejected.

                2.      The legislative history reflects that Congress rejected language in
                        which a bank would be assessed only in narrow areas near its deposit-
                        taking facilities, in favor of the “entire community” language.

        Although the breadth of the term “entire community” is apparent from the statutory text,

the legislative history further supports the conclusion that Congress chose not to limit a bank’s

CRA evaluation solely to locations where that bank maintains deposit-taking facilities.



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       Specifically, as first introduced, the original CRA bill expressly defined a bank’s

community with reference to the areas where it maintains deposit-taking facilities, but Congress

abandoned that narrow construction in favor of the broader “entire community” language. In

particular, the original version of the legislation indicated that assessments would be conducted

based on a bank’s “primary savings service area.” 123 Cong. Rec. 17870 (June 7, 1977). The

phrase “primary savings service area” was, in turn, defined as “a compact area contiguous to a

deposit facility from which such facility obtains or expects to obtain more than one-half of its

deposit customers.” Id. However, by the time the CRA was enacted, Congress had replaced

“primary savings service area” with “entire community, including low-and moderate-income

neighborhoods.” 12 U.S.C. § 2903(a)(1).

       The Congressional Record confirms that House and Senate conferees agreed to amend

the bill to “substitute consideration of the credit needs of ‘the entire community, including its

low and moderate income neighborhoods,’ for the credit needs of its ‘primary [savings] service

area.’” 123 Cong. Rec. 30982 (Sept. 26, 1977). Senator Proxmire, who authored the legislation,

elaborated on this change as follows:

       What this legislation does, in contrast to what [originally] passed, is to . . .
       redefine[] the primary service area to be served on a broader basis, so that there
       be no question that it is not simply the immediate community where the bank was
       located.

123 Cong. Rec. 31887-88 (Oct. 1, 1977) (emphasis added).

       Had the original CRA legislation, with its definition of a bank’s “primary savings service

area,” been enacted into law, it would have been clear that a bank’s CRA obligations are tied to

the geographies where the bank has its deposit-taking facilities. However, the enacted legislation

deleted the “primary savings service area” language, and its associated definition, and replaced it

with the “broader” requirement that the FBAs assess the bank’s “entire community.” Thus, the

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legislative history supports the Final Rule’s focus on assessing banks where they lend, not just in

areas with immediate proximity to deposit-taking facilities.

               3.      Federal agencies are expected to update rules based on changed facts.

       Changes in the banking industry have been dramatic since the CRA was enacted in 1977

and the most recent comprehensive regulations were issued in 1995. These changes strongly

support the FBAs’ decision to adjust their approach to delineation of assessment areas to capture

a bank’s “entire community” and to issue the Final Rule now being challenged.

       As the FBAs described in their rulemaking proposal, “[t]he financial services industry

has undergone transformative changes since the CRA statute was enacted, including the removal

of national bank interstate branching restrictions and the expanded role of mobile and online

banking.” 87 Fed. Reg. at 33887. Specifically, “[o]ver the past two decades, technology and the

expansion of interstate banking has transformed the financial services industry and how banking

services are delivered and consumed.” Id. at 34009. For example, according to the 2019 FDIC

Survey of Household Use of Banking and Financial Services, a majority of customers now use

online and mobile banking as their primary method for accessing their accounts, and “[t]he usage

of online and mobile banking delivery systems is expected to continue to grow.” Id. at 33964. In

addition, the removal of interstate banking restrictions through the Riegle-Neal Interstate

Banking and Branching Efficiency Act of 1994 allowed banking organizations to operate more

readily in multiple states and to complete mergers and acquisitions across state lines. See id. at

33887. These changes in the ways that banks conduct business have been profound, “affect[ing]

all banks, regardless of size or location,” and have been “most evident in banks that have a

limited physical presence or that rely heavily on technology to deliver their products and

services.” 87 Fed. Reg. at 34009. It follows that, “[a]s banking has evolved, banks’ communities



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are not solely identifiable by the areas that surround their physical locations.” Id.

       In cases like this—where an agency engages in a rulemaking in response to such changed

circumstances and articulates the reasons for the rulemaking—the bar for successfully

challenging the agency’s conduct is high. Specifically, an agency “need not demonstrate . . . that

the reasons for the new policy are better than the reasons for the old one; it suffices that the new

policy is permissible under the statute, that there are good reasons for it, and that the agency

believes it to be better.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009). The

agency need not even describe “why the original reasons for adopting the displaced rule or

policy are no longer dispositive.” Id. at 514 (quotations omitted); see also Nat’l Ass’n of Home

Builders v. EPA, 682 F.3d 1032, 1037-38 (D.C. Cir. 2012) (agencies need not identify “new

evidence” or a “change in circumstances”). All that is required is that the agency “provide

reasoned explanation for its action.” Texas v. EPA, 91 F.4th 280, 299 (5th Cir. 2024) (quoting

Fox, 556 U.S. at 515); accord, e.g., Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc.,

419 U.S. 281, 286 (1974) (“While we may not supply a reasoned basis for the agency’s action

that the agency itself has not given, we will uphold a decision . . . if the agency’s path may

reasonably be discerned.” (citation omitted)).

       Fox Television is instructive. There, the Supreme Court examined an FCC policy that

prohibited on-air expletives only where those expletives were repeated, which the FCC proposed

reversing such that expletives would be prohibited even if they were merely fleeting. 556 U.S. at

509-13. When the FCC promulgated the new rule, the Second Circuit struck it down, stating that

the FCC provided “no reasonable explanation for why it ha[d] changed its perception” that

fleeting expletives were not “harmful.” Fox Television Stations v. FCC, 489 F.3d 444, 458 (2d

Cir. 2007). But the Supreme Court reversed, finding “no basis” in the APA to scrutinize an



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agency’s judgment in that way. 556 U.S. at 514. It sufficed that the FCC “forthrightly

acknowledged” the change and that its reasoning for the new policy was “rational.” Id. at 517.

       The FBAs did far more than necessary under this standard, providing ample detail as to

the changed facts and related reasoning that led to the Final Rule. As described above, the FBAs

articulated how both the evolution of broad-based interstate banking and the rise in online and

mobile banking had radically transformed the business of banking. The FBAs also appropriately

articulated how the RLAA and ORLA provisions address this transformation. The “agency’s

view of what is in the public interest may change, either with or without a change in

circumstances,” and the agency “must be given ample latitude to ‘adapt [its] rules and policies to

the demands of changing circumstances.’” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm

Mut. Auto. Ins. Co., 463 U.S. 29, 42, 57 (1983) (citations omitted). Here, the FBAs have acted

well within their latitude to assess each bank’s record of meeting the credit needs of its “entire

community,” as that community exists today.

               4.      The FBAs have done nothing extraordinary that would warrant
                       application of the Major Questions Doctrine.

       Plaintiffs’ invocation of the Major Questions Doctrine should be summarily rejected

because that doctrine has no applicability where the agency is acting within its field of expertise

and is applying a key provision of a statute. Here, consistent with their expertise and applying the

key provision of the CRA, the FBAs have evaluated the extent to which a bank is meeting the

credit needs of its “entire community” for nearly five decades. The Final Rule continues to

prescribe regulations to do so, and nothing about the FBAs’ conduct remotely meets any of the

factors required for invocation of the doctrine.

       As an initial matter, before applying the Major Questions Doctrine, the Supreme Court

has considered whether the challenged action is within the agency’s traditional field of expertise,

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and whether Congress has expressly considered and rejected the measure in the past. West

Virginia v. EPA, 597 U.S. 697, 721-22 (2022). Here, the FBAs’ field of expertise is the business

of banking, and they are well-equipped to understand how banks’ “entire communit[ies]” have

evolved over time. This case thus contrasts sharply with Major Questions cases involving “an

attempt by a public health agency to regulate housing,” or “an effort by a workplace safety

agency to ordain ‘broad public health measures’ . . . outside [its] sphere of expertise.” Id. at 748

(Gorsuch, J., concurring) (citing Alabama Assn. of Realtors v. HHS, 141 S. Ct. 2485, 2488

(2021); NFIB v. OSHA, 595 U.S. 109, 118 (2022)). And in sharp contrast to West Virginia, where

the agency had attempted to “enact a program that . . . ‘Congress considered and rejected

multiple times,’” 597 U.S. at 731, here Congress expressly considered and rejected the narrow

formulation of the CRA advanced by Plaintiffs. Specifically, it rejected the concept that banks

should be assessed based on a “primary savings service area” or “the immediate community

where the bank was located.” 123 Cong. Rec. 31887-88 (Oct. 1, 1977).

       In addition, the Major Questions Doctrine applies only when an administrative action

involves an expansion of regulatory authority premised on “ancillary” statutory provisions. West

Virginia, 597 U.S. at 710, 724. Here, the phrase “entire community” is not an “ancillary”

provision in the CRA; it is central to the key provision and, as described above, it was considered

carefully by Congress when the CRA was enacted in 1977. Congress entrusted the FBAs with

determining how the “entire community” language should be applied, and the FBAs have

consistently focused on the “entire community” language in their rulemakings. See, e.g., 43 Fed.

Reg. at 47144 (applying the language of the CRA in a 1978 rulemaking, and indicating that

“[e]ach institution’s entire community will consist of one or more local communities, and

guidelines are given on how to define the local community or communities”). This is a far cry



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from West Virginia, where, with respect to the statutory provision at issue, it was “only a slight

overstatement . . . to refer to [it] as an ‘obscure, never-used section of the law.’” 597 U.S. at 711.

       Finally, the Major Questions Doctrine applies only “in certain extraordinary cases” that

involve “decisions of vast economic and political significance,” assertions of “extravagant

statutory power over the national economy,” or assertions of “highly consequential power

beyond what Congress could reasonably be understood to have granted.” Id. at 716, 723-24.

Examples of such “extraordinary cases” are a rule requiring power plants to shift electricity

production away from coal, a nationwide eviction moratorium by the Centers for Disease Control

and Prevention, a Covid-19 vaccine mandate for employers with more than 100 employees, and

an effort by the Food and Drug Administration to regulate or even ban tobacco products. Id. at

721-22. The FBAs’ Final Rule applying the undefined term “entire community” in a manner that

is consistent with the way that banks now conduct business bears none of the hallmarks of being

an “extraordinary case.”

               5.        Plaintiffs’ other arguments are meritless.

       In cursory fashion, Plaintiffs make a number of other arguments in an attempt to

invalidate the FBAs’ proposed application of the phrase “entire community.” None withstands

scrutiny, and they fail to aid Plaintiffs in meeting their burden to demonstrate a substantial

likelihood of success.

       First, Plaintiffs argue that the provision of the CRA addressing institutions serving

military personnel supports their contention that “entire community” must be limited to the

geographic areas where a bank maintains deposit-taking facilities. See Pl. Br. at 12-13. But that

provision does more to support the definition of “entire community” in the Final Rule than to

undercut it. The provision at issue provides that an institution “whose business predominately



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consists of serving the needs of military personnel who are not located within a defined

geographic area may define its ‘entire community’ to include its entire deposit customer base

without regard to geographic proximity.” 12 U.S.C. § 2902(4). Thus, the provision establishes

that for institutions serving military personnel, the bank’s “entire community” may not be a

geographic area, but rather may consist of its customers without regard to any of their geographic

locations. Id. This leads to the natural conclusion that, for all other institutions, the term “entire

community” must encompass the geographic locations of the bank’s customers. And, as with the

existing rule, the Final Rule is focused on geography: FBAAs, RLAAs, and ORLAs are all

geographic areas where a bank serves its customers. See, e.g., 89 Fed. Reg. at 6577.18 Thus,

while the performance of an institution serving the needs of military personnel (who may be

stationed abroad, deployed in combat zones, etc.) is not required to be evaluated in the

geographic locations of their customers, the Final Rule continues to require evaluation of

performance in customers’ geographic areas for other banks (similar to the rule already in place).

        Second, Plaintiffs contend that Congress’s direction to the FBAs to prepare written

evaluations focused on “each metropolitan area” where “branch offices” are located supplants

Congress’s direction to the FBAs to assess the institution’s record of meeting the credit needs of

the bank’s “entire community.” Pl. Br. at 10, 13 (citing 12 U.S.C. § 2906(b)(1)(B)). However,

Plaintiffs’ suggestion that the requirement for written evaluations in section 2906 demonstrates

that “entire community” is to be narrowly construed to mean “each metropolitan area in which a

bank maintains one or more branch offices” is based on a selective reading of section 2906. In

particular, Plaintiffs have chosen to ignore the part of section 2906 which requires, for banks




18
 Plaintiffs concede as much when they observe that the Final Rule adds more “location[s]”
where the bank maintains its customers. Pl. Br. at 12 (emphasis added).
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with interstate branches, “a separate written evaluation” for “each State in which the [bank]

maintains 1 or more domestic branches,” and for the evaluation to encompass the bank’s “record

of performance within such State.” 12 U.S.C. § 2906(d)(1)(B). The fact that the written

evaluations must encompass “each metropolitan area” and “each State” in which a bank has a

domestic branch fully comports with an expansive definition of “entire community.”

       Moreover, section 2906 was added to the CRA in 1989 and revised in 1991 and 1994; it

was not in the originally enacted law from 1977. Congress, legislating in 1989, 1991, and 1994,

could have amended section 2903(a)(1) to replace the “entire community” language to align with

any of the geographies for which written evaluations were required under section 2906.

However, Congress chose to leave the “entire community” language unchanged in section

2903(a)(1), retaining the operative requirement that the FBAs must “assess the institution’s

record of meeting the credit needs of its entire community.” It is not the function of courts to

“invest old statutory terms with new meanings” where Congress has chosen not to amend those

old statutory terms itself. New Prime Inc. v. Oliveira, 139 S. Ct. 532, 539 (2019) (“[I]f judges

could freely invest old statutory terms with new meanings, we would risk amending legislation

outside the single, finely wrought and exhaustively considered, procedure the Constitution

commands” (quotation omitted)); accord Perez v. ZTE (USA), Inc., 2019 WL 1429654, at *3

(N.D. Tex. Mar. 29, 2019) (“Congress is presumed to have knowledge of its previous legislation

when making new laws [and] is presumed to be knowledgeable about existing law pertinent to

the legislation it enacts” (citing United States v. Zavala–Sustaita, 214 F.3d 601, 606 n.8 (5th Cir.

2000)) (internal quotations omitted)); United States v. Jabateh, 974 F.3d 281, 296 (3d Cir. 2020)

(“new language added to a statute ordinarily ought not be read to alter the meaning of the

statute’s existing and unchanged text”). Thus, the fact that the “entire community” language was



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left intact, even as Congress decided to require written evaluations “for each metropolitan area”

and “for each State” where a bank has branches, does not support the notion that the “entire

community” language had been nullified or redefined.

       Finally, Plaintiffs compile a string cite of unenacted bills from prior sessions of

Congress, which they say indicate that “Congress has considered and either rejected or not acted

on legislation that would substantially amend the CRA much like the Final Rules.” Pl. Br. at 14.

Those bills would have done nothing of the sort. Four of the cited bills were all substantively

similar and were designed “to increase homeownership and small business ownership for low-

and moderate-income borrowers and persons of color,” and “to close the wealth gap in the

United States and to increase access to insurance products.”19 The fifth cited bill created new

requirements concerning evaluation for illegal or discriminatory activity, partnerships with non-

depository lenders, and community service or charity work.20 None of this legislation would

have clarified the meaning of “entire community,” or amended the language of 12 U.S.C.

§ 2903(a)(1) requiring that banks be assessed based on whether they are meeting the needs of the

“entire community.” Plaintiffs’ suggestion that these unenacted bills have any relationship to the

Final Rule or otherwise have any bearing on this litigation is totally meritless.

       B.      The FBAs Have Not Exceeded Their Statutory Authority By Evaluating
               Deposit Products and Services

       The CRA commands the FBAs to “assess the institution’s record of meeting the credit

needs of its entire community.” 12 U.S.C. § 2903(a)(1). The CRA does not mandate that only

specific factors can be considered in determining whether a bank is “meeting the credit needs of



19
   H.R. 4893, 106th Cong. (2000); H.R. 865, 107th Cong. (2001); H.R. 1289, 110th Cong.
(2007); H.R. 1479, 111th Cong. (2009).
20
   H.R. 8833, 117th Cong. (2022).


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its entire community,” and throughout history, the FBAs have used a variety of factors. In

developing the Final Rule, the FBAs determined that “the availability of bank deposit products

that meet the needs of [LMI] individuals, families, or households frequently assume a

foundational role in the ability for individuals to access credit responsive to their particular

needs.” 89 Fed. Reg. at 6943. Plaintiffs do not dispute that the FBAs have articulated a rational

relationship between availability of deposit products and services and the ability to access credit

(Pl. Br. at 17), and their challenge fails as a result.

                1.      The CRA does not mandate that only certain factors can be
                        considered in evaluating whether a bank is “meeting the credit needs
                        of its entire community.”

        The CRA does not contain a list of exclusive factors that must be used to evaluate

whether a bank is “meeting the credit needs of its entire community.” 12 U.S.C. 2903(a)(1).

Indeed, the very formulation chosen by Congress and never changed since 1977—“meeting the

credit needs of its entire community”—is broad. Congress did not write that banks should be

assessed based on “providing credit,” “extending credit,” or “originating loans,” but instead

Congress chose a more expansive formulation. The phrase “credit needs” encompasses what is

requisite, desirable, or useful in connection with credit.21 Plaintiffs’ suggestion that the FBAs can

only examine whether a bank is providing “credit products” to customers (Pl. Br. at 16) is an

attempt to rewrite the statute.

        The FBAs have historically developed a range of factors to comply with the CRA’s broad

mandate. Shortly after the enactment of the CRA, the FBAs used twelve “assessment factors” to

evaluate whether banks were meeting the credit needs of their entire communities. 43 Fed. Reg.




 As a noun, “needs” includes “a lack of something requisite, desirable, or useful.” Webster’s
21

New Collegiate Dictionary 768 (1976).
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at 47154. These twelve factors were not limited merely to the extension of credit. For example,

one factor was “[t]he institution’s record of opening and closing offices and providing services at

offices.” Id. (emphasis added). Similarly, in the 1990s, in commencing a new rulemaking, the

FBAs drew attention to the importance of full-service banking relationships in helping LMI

customers access credit:

       Branch availability in a community is critical to the availability of credit, as well
       as deposit, services. The loan origination process (including initial contacts, pre-
       application counseling, application completion and application filing) often
       occurs at branches. Moreover, accessible branches are critical to the development
       of the full-service banking relationships that facilitate participation in the credit
       system.

58 Fed. Reg. 67466, 67471 (Dec. 21, 1993) (emphasis added).

       In the rule that was adopted in 1995, the FBAs changed the twelve assessment factors to

three performance tests for large banks, one of which was a “Service Test” that required

evaluating “the availability and effectiveness of a bank’s systems for delivering retail banking

services.” 60 Fed. Reg. 22156, 22181 (May 4, 1995) (emphasis added). In 1996, in their

“Interagency Questions and Answers Regarding Community Reinvestment” guidance, the FBAs

explained that financial services such as “low-cost bank accounts” are considered under the

Service Test as a type of community development service, provided that the accounts increase

access to financial services for LMI individuals. 61 Fed. Reg. 54647, 54651-52 (Oct. 21, 1996).

And in 2016, the FBAs reiterated in their guidance that deposit products and services are

considered under the Service Test, indicating that “low-cost deposit accounts” are an example of

“retail banking services that improve access to financial services, or decrease costs, for [LMI]

individuals.” 81 Fed. Reg. 48506, 48542 (July 25, 2016). Thus, in assessing CRA performance,

examiners review “data regarding the costs and features of loan and deposit products, account

usage and retention, [and] geographic location of accountholders.” Id. at 48543.

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       The Final Rule continues the practice in which “a bank’s retail deposit products and

services are evaluated.” 89 Fed. Reg. at 6942-43. The Final Rule recognizes that, whereas

branches were historically critical to customers developing full-service banking relationships that

facilitated accessing credit, “the now widespread use of mobile and online banking” also can be

the foundation of a banking relationship, such that it makes sense to evaluate deposit activities

that are not solely tied to branch locations. 89 Fed. Reg. at 6925; see also id. at 6944 (explaining

that the Final Rule “modernizes the existing evaluation of a bank’s products and services by

adding a more explicit focus on the financial inclusion potential of these products”). As the Final

Rule explains, the FBAs intended that all of the four main performance tests in the rule “would

measure a different aspect of how responsive a bank’s retail and community development

activities are to the credit needs of the bank’s communities.” Id. at 6767. Where, as here, there is

a “long-standing” historical pattern of an agency interpreting a statute in a particular manner, that

interpretation is entitled to “great respect.” Bd. of Governors of Fed. Reserve Sys. v. First

Lincolnwood Corp., 439 U.S. 234, 248 (1978); accord NLRB v. Bell Aerospace Co. Div. Textron

Inc., 416 U.S. 267, 274-75 (1974) (“[A] court may accord great weight to the longstanding

interpretation placed on a statute by an agency charged with its administration.”). This is

particularly the case “when Congress has refused to alter the administrative construction.” First

Lincolnwood, 439 U.S. at 248 (quotation omitted). Here, while Congress amended the CRA

multiple times during its 50-year history, Congress never disapproved of the factors that the

FBAs developed over the years to determine whether banks were meeting the credit needs of

their communities.

       Plaintiffs have provided no basis for construing the phrase “meeting the credit needs of

its entire community” to allow for consideration only of factors that Plaintiffs have selected as



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being desirable, rather than the factors appropriately chosen by the FBAs.

                2.      The FBAs have reasonably explained why evaluating deposit activities
                        is appropriate in determining whether a bank is “meeting the credit
                        needs of its entire community.”

        The Final Rule amply describes why consideration of deposit activities is appropriate

under the CRA. See 89 Fed. Reg. at 6943-44. Because the FBAs’ application of the language of

the CRA is “rationally related” to the goal of meeting the “credit needs” of communities, the

Final Rule is an appropriate exercise of the FBAs’ authority. See, e.g., AT&T Corp. v. Iowa Utils.

Bd., 525 U.S. 366, 388 (1999) (requiring an agency to act in a way that is “rationally related to

the goals of the [statute]”); Ascendium Educ. Sols., Inc. v. Cardona, 78 F.4th 470, 482 (D.C. Cir.

2023) (“[We] ask whether the [agency] has reasonably explained how the permissible

interpretation it chose is rationally related to the goals of the statute.” (quotation omitted));

United States v. Empire Bulkers Ltd., 2022 WL 3646069, at *4 (E.D. La. Aug. 24, 2022) (“[A]n

obvious and reasonable means to achieve the legislative directive . . . is not an ultra vires

exercise of regulatory power.”).

        Here, the FBAs described in great detail why evaluating deposit activities is appropriate.

As explained in the Final Rule, “the agencies have found that there is a sufficient nexus between

deposit products and the provision of credit such that, to comprehensively assess large bank

performance for banks with more than $10 billion in assets, it is appropriate to evaluate deposit

accounts responsive to the needs of [LMI] individuals, families, or households.” 89 Fed. Reg. at

6943. Specifically, “the availability of bank deposit products that meet the needs of [LMI]

individuals, families, or households frequently assumes a foundational role in the ability for

individuals to access credit responsive to their particular needs.” Id.

        The FBAs described various common sense ways that deposit products and services help



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individuals access credit. First, “deposit products . . . increase credit access by helping

individuals improve their financial stability and build wealth through deposit accounts,” and

therefore “[a] greater focus on responsive deposit products could strengthen a bank’s ability to

serve the credit needs of its communities.” Id. at 6943-44. Second, “deposit products can help

consumers qualify for loans by facilitating consumers’ savings so that they can post collateral

and pay transactions costs.” Id. at 6944. As part of this point, the FBAs noted that consumers

frequently rely on checking and savings accounts “to save for and then fund the down payment

for a house, the money down on a car, or the initial capital for a small business.” Id. In addition,

the agencies noted that “[d]ata from consumers’ use of deposit accounts are also sometimes

included in credit evaluations as ‘alternative data.’” Id. Third, “deposit products are a pathway

for a bank customer to establish an ongoing relationship with a bank.” In the course of this

relationship, “[b]anks can use various touch points to market credit products, explain how credit

products can help consumers meet financial needs, and provide services to improve consumers’

financial literacy,” and “[s]ome banks rely on ‘relationship lending,’ or using this ‘soft’ data

based on an ongoing relationship with a customer to make underwriting decisions.” Id. (citing

academic literature). Indeed, “[d]ata and empirical studies support the idea that deposit accounts

facilitate lending and improved financial outcomes.” Id. The Federal Reserve’s research also

supports the connection between use of deposit products and services and access to credit, noting

that “[l]ower-income families with a deposit account are more likely to have a major credit card,

a first mortgage, and a vehicle loan.”22


22
  Jeanne Hogarth & Kevin O’Donnell, Banking Relationships of Lower-Income Families and
the Governmental Trend toward Electronic Payment, Federal Reserve Bulletin (July 1999), at
459, 463, available at https://www.federalreserve.gov/pubs/bulletin/1999/0799lead.pdf. The
same authors noted in a subsequent paper that “[c]ompared with non-account holders,
households with transaction accounts were more likely to have credit cards, first mortgages, car


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       Among Texas banks, the relationship between deposit accounts and credit services is

widely recognized. For example, Austin Bank advises customers that rates for auto loans will be

based in part on “[y]our account relationship with Austin Bank.”23 The Bank of Texas similarly

advises, with respect to personal loans, that if a borrower “choose[s] not to auto debit from a

Bank of Texas checking account, you may be offered a higher interest rate.”24 There is good

reason for banks to prefer making loans primarily to customers with existing deposit

relationships: for example, as the Texas Department of Banking notes, under Texas law, “[i]f you

have a personal account and a loan at the same banking institution, and you are delinquent in

your loan payments, the bank generally has a right to access your personal account without

notification to you to bring the note current.”25

       Plaintiffs do not contest the relationship between deposit products and services and the

ability to access credit. Pl. Br. at 17. Nonetheless, they argue that, by assessing deposit products

and services, the FBAs have “enlarge[d] the authority granted” to them by the CRA. Id.

However, the text of the CRA is broad and leaves it to the FBAs to publish regulations “to carry

out the purposes of this chapter.” 12 U.S.C. § 2905. It is common that a statute is “mandatory as

to the object to be achieved,” but leaves “a great deal of discretion in deciding how to achieve

it.” Norton v. S. Utah Wilderness All., 542 U.S. 55, 66 (2004). For example, in Norton, the

plaintiffs alleged that the Bureau of Land Management (“BLM”) failed to comply with its




loans, [and] consumer loans.” Jeanne Hogarth & Kevin O’Donnell, If You Build it, Will They
Come? A Simulation of Financial Product Holdings Among Low-to-Moderate Income
Households, Journal of Consumer Policy (2000), at 409, 426, available at
https://doi.org/10.1023/A:1007222700931.
23
   https://www.austinbank.com/lending/auto-and-consumer-loans
24
   https://www.bankoftexas.com/-
/media/Files/PDF/PEW_Documents/Personal_Installment_Simple%20Guide_BOT.pdf
25
   https://www.dob.texas.gov/banks-trust-companies/faqs (“General Loan Information” section).
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statutory and regulatory mandates by allowing recreational use of off-road vehicles on federal

land. Id. at 59-60. The relevant statutes instructed BLM to “continue to manage [lands] . . . in a

manner so as not to impair the suitability of such areas for preservation as wilderness,” and to

“manage the public lands under principles of multiple use and sustained yield, in accordance

with the land use plans.” Id. at 59-60, 66-67. The Supreme Court held that this language did not

require BLM to prohibit the use of recreational vehicles and that BLM had the discretion to

determine how to fulfill the broad contours of the statutory mandate. Id. at 66. Similarly here, the

CRA has prescribed an objective (assessing a bank’s record of meeting the credit needs of its

entire community), but does not direct how the FBAs must achieve it.

       In short, empirical research, banks’ practices, and the everyday actions of bank customers

confirm what is described in the Final Rule: using deposit products and services is rationally

related to accessing credit. Thus, the FBAs are amply justified and acting within their statutory

authority in evaluating a bank’s deposit activities as part of the larger inquiry into whether that

bank is meeting the credit needs of its entire community.

       C.      Plaintiffs Have Not Established Associational Standing

       Finally, Plaintiffs are unlikely to succeed on the merits because they lack standing. Every

plaintiff in this action is an association purporting to sue on behalf of its members, Compl. ¶¶ 7-

14, but they have not satisfied the requirement that they identify by name at least one member

who would have standing in its own right or show all members of the association are affected by

the challenged activity. Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977).

       Plaintiffs do not assert that the challenged activity affects all members of their

associations, nor can they, given that their associations are comprised of thousands of

institutions. Compl. ¶¶ 7-14. Moreover, and critically, no plaintiff has identified by name a single



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member with standing.26 See Summers v. Earth Island Inst., 555 U.S. 488, 498-99 (2009)

(holding that the “requirement of naming the affected members has never been dispensed with”

except where “all the members of the organization are affected by the challenged activity”);

Funeral Consumers All., Inc. v. Serv. Corp. Int’l, 695 F.3d 330, 344 (5th Cir. 2012) (“An

organization lacks standing if it . . . ‘fail[s] to identify even one individual’ member with

standing.”). Instead, Plaintiffs submitted unsworn statements from three anonymous bankers

purporting to be members of one or more of the plaintiff associations. ECF 21 at App. 53-65

(Declarations from Anonymous Bankers A-C). But “[w]hen a preliminary injunction is sought, a

plaintiff’s burden to demonstrate standing ‘will normally be no less than that required on a

motion for summary judgment,” Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 907 n.8 (1990), and

therefore anonymous declarations are not a permissible form of evidence. They do not allow the

Court to evaluate specific facts giving rise to standing, and the declarants “cannot be held to their

statements under penalty of perjury.” Williams v. D’Argent Franchising, LLC, 2023 WL

3059192, at *14 (W.D. La. April 24, 2023); see also Patterson v. Cty. Of Oneida, N.Y., 375 F.3d

206, 223 (2d Cir. 2004) (finding the requirement to “set forth specific facts” was not “satisfied by

an affiant whose identity is not disclosed”).

       Moreover, none of the anonymous declarants represent that they are banks with over $10

billion in assets, or that they have under $10 billion in assets and no branches (ECF 21 at App. 54

¶ 3, 57 ¶ 2, 62 ¶ 2), such that they would be impacted by the applicable parts of the deposit

products and services sections of the Final Rule. 89 Fed. Reg. at 6757-58, 7120-21. Therefore,




26
   In their certificate of interested persons, Plaintiffs answered “None” in response to the inquiry
as to whether there are any “persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case.” ECF 2.
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even the anonymous Plaintiffs would lack standing to challenge that aspect of the rule. Plaintiffs’

lack of standing further demonstrates that they have not shown a likelihood of success on the

merits and that their motion should be denied.

II.    PLAINTIFFS HAVE NOT DEMONSTRATED THAT THEIR MEMBERS WILL
       SUFFER IRREPARABLE HARM ABSENT A PRELIMINARY INJUNCTION
       Plaintiffs seeking preliminary relief must demonstrate that “irreparable injury is likely in

the absence of an injunction.” Winter, 555 U.S. at 22. To meet this burden, the injury must be

“imminent,” “more than mere speculation,” and “substantial” or “significant.” Texas v. Biden,

2022 WL 18436750, at *1 (S.D. Tex. Oct. 20, 2022) (quoting Janvey v. Alguire, 647 F.3d 585,

601 (5th Cir. 2011)); see also Texas v. EPA, 829 F.3d 405, 433-34 (5th Cir. 2016). The Fifth

Circuit also requires more from “private-sector plaintiffs’ efforts to show irreparable harm”—

requiring “more specificity” and ascription of “more urgency to the consequences of a

challenged action.” Texas v. EPA, 662 F. Supp. 3d 739, 756-57 (S.D. Tex. 2023) (finding

government, but not industry, plaintiffs established irreparable harm); Career Colleges &

Schools of Texas v. Dep’t of Educ., 2023 WL 4291992, at *10 (W.D. Tex. Jun. 30, 2023).

Furthermore, “the irreparable harm element must be satisfied by independent proof, or no

injunction may issue.” White v. Carlucci, 862 F.2d 1209, 1211 (5th Cir. 1989). Plaintiffs have

failed to carry this burden.

       Plaintiffs acknowledge that there are no imminent harms from their members’

performance being assessed under the Final Rule, as most of the Rule’s requirements are not

applicable until January 1, 2026, or January 1, 2027 (with first examinations under the Final Rule

following even later). Pl. Br. at 7; 89 Fed. Reg. at 7091-92, 7095. Plaintiffs instead focus on

compliance costs they assert their members would incur starting now to prepare for this much

later implementation. Pl. Br. at 18-20. Plaintiffs cite to statements in party declarations (and


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improper anonymous statements that should be disregarded, see supra at 31). However, these

assertions fail to satisfy Plaintiffs’ burden to establish that alleged compliance costs constitute

irreparable injury under applicable Fifth Circuit law.

       A.      Compliance Costs Do Not Constitute Irreparable Harm Because Plaintiffs
               Have Not Demonstrated That They Are Significant in the Context of Banks’
               Overall Finances
       Plaintiffs fail to demonstrate that their alleged injury would be substantial, or, in other

words, that their compliance costs would be “‘more than de minimis’” in the context of their

overall finances. Texas v. EPA, 662 F. Supp. 3d at 756 (quoting Louisiana v. Biden, 55 F.4th

1017, 1035 (5th Cir. 2022)). As one district court recently observed, threatened economic harm,

including nonrecoverable compliance costs, must be “significant, tangible, and likely.” Div. 80,

LLC v. Garland, 2022 WL 3648454, at *2, 4 (S.D. Tex. Aug. 23, 2022) (emphasis added). A

contrary position would find irreparable harm in every case in which a litigant challenges a new

regulation, thereby transforming the “extraordinary remedy” of equitable relief, Winter, 555 U.S.

at 22, from the exception to the norm.

       Here, Plaintiffs have failed to provide necessary context for their asserted compliance

burdens “in relation to the overall financial situation” of their members. Nat’l Council of Agric.

Emps. v. DOL, 2023 WL 2043149, at *7 (D.D.C. Feb. 16, 2023); see also Second Amend.

Found., Inc. v. ATF, 2023 WL 7490149, at *15-16 (N.D. Tex. Nov. 13, 2023) (holding plaintiffs

had not shown likely irreparable harm regarding asserted financial losses where they provided no

context for total monthly revenues or percentages of average monthly income derived from sales

before and after final rule became effective). To demonstrate that any asserted compliance costs

are more than de minimis in the context of banks’ overall finances, Plaintiffs must compare those

costs to affected banks’ overall economic positions, by considering, for example, banks’ total

noninterest expenses. Those noninterest expenses for all FDIC-insured depository institutions are

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estimated at $586 billion for the year ending December 31, 2023. See Declaration of Douglas D.

Robertson, Ph.D., Director, Policy Analysis Division, OCC, dated March 7, 2024 (Robertson

Decl.), ¶ 17; cf. Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 212 (D.D.C. 2012) (finding

alleged unrecoverable economic loss of $1 billion insufficient in the context of movant’s $102

billion in revenues); Air Transp. Ass’n of Am., Inc. v. Exp.-Imp. Bank of the U.S., 840 F. Supp. 2d

327, 338 (D.D.C. 2012) (finding alleged $2.1 billion loss insufficient in the context of movant’s

$31.8 billion in revenues).

       Plaintiffs fail to demonstrate, let alone acknowledge, the overall financial situation of

their members as context for the estimated regulatory impact figure of $91.8 million referenced

in the Final Rule’s preamble. See Pl. Br. at 18-19.27 Put in the context of the banks’ overall

expenses, the estimate of these compliance costs are mere hundredths or thousandths of a

percentage point of the affected banks’ aggregate total noninterest expenses. See Robertson Decl.

¶ 18 (“The estimated compliance cost, to collect, maintain, and report annually geographic data

on deposits, of $82 million represents 0.0224% of $366 billion in aggregate total noninterest

expenses of the 54 [affected] banks.”); ¶ 19 (“The estimated compliance cost, to collect,

maintain, and report [other] data, of $7.9 million represents 0.0021% of $375 billion in aggregate

total noninterest expenses of the 139 [affected] banks.”); ¶ 20 (“The estimated compliance cost,

for seven (7) banks to revise their strategic plans in one year, of $1.9 million represents 0.0297%

of $6.4 billion in aggregate total noninterest expenses estimated for the seven (7) [affected]



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  The OCC notes that the preamble to the Final Rule described this $91.8 million figure as an
estimate of the cost of compliance activities to be incurred during the first 12 months of
implementation. 89 Fed. Reg. at 7106 (summarizing the OCC’s analysis related to the Unfunded
Mandates Reform Act). The OCC intends to soon issue a correction in the Federal Register
revising the paragraph discussing this estimate. The correction will clarify that these compliance
activities to prepare for the applicability dates may take place over the entire transition period,
lasting until January 1, 2026 and January 1, 2027 (as opposed to over the first 12 months).
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banks.”).

       Likewise, Plaintiffs fail to acknowledge any appropriate context for the FBAs’ annual

burden estimates under the Final Rule. Pl. Br. at 18-19; 89 Fed. Reg. at 7106. Plaintiffs reference

annual burden figures of 105,455 hours for all Federal Reserve-regulated banks; 130,891 hours

for all OCC-regulated banks; and 234,974 hours for all FDIC-regulated banks subject to the

CRA. But they fail to note that the Final Rule indicates that the estimated annual burden for all

institutions regulated by all three FBAs is only 51,271 hours more than the FBAs’ most recent

published burden estimates for current CRA compliance. See 89 Fed. Reg. at 7106 (identifying

increases of 3,392 hours, 17,540 hours, and 30,339 hours for banks supervised by the FDIC, the

OCC, and the Federal Reserve, respectively). Put into context, these estimated increases in

annual burden across more than 4,500 institutions (89 Fed. Reg. at 7102-06 (see “Burden

Estimates” chart)), are de minimis for purposes of assessing whether Plaintiffs have met the

standard for the extraordinary relief of a preliminary injunction. See Cardinal Health, 846 F.

Supp. 2d at 212; Air Transp. Ass’n of Am., Inc., 840 F. Supp. 2d at 338.

       Due to the lack of any demonstrated substantial harm, Plaintiffs fail to meet their heavy

burden of establishing that their members will likely suffer irreparable injury in the absence of a

preliminary injunction. Second Amend. Found., Inc., 2023 WL 7490149, at *15-18.

       B.      Plaintiffs’ Assertions of Irreparable Harm from Purported Immediate
               Activities Fail Because They Are Vague and Speculative
       Plaintiffs also argue imminent compliance costs for “immediate” activities associated

with preparing for the Final Rule’s 2026 and 2027 applicability dates. See Pl. Br. at 19-20.

Assertions by Plaintiffs and their declarants that large-scale preparation efforts are required

immediately to comply with far-off applicability dates are not based on any regulatory text,

however, and their assertions are vague and speculative. VanDerStok v. Garland, 633 F. Supp. 3d


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847, 858 (N.D. Tex. 2022) (rejecting argument that it would be “virtually impossible” for an

organizational plaintiff to achieve its mission given “onerous” and “conflicting” laws; “Not only

is this argument vague and purely speculative, it does not even address ATF’s Rule.”).

       First, the Final Rule represents the culmination of a multiyear rulemaking process in

which banks have been actively engaged with the FBAs, providing input regarding forthcoming

content. See, e.g., 89 Fed. Reg. at 6581-82. A significant responsive change was extending the

implementation period from one to two years, allowing banks substantially more time than

proposed to pace and thoughtfully calibrate implementation efforts and costs. See, e.g., id. at

7092-93 (describing decision to delay implementation until 2026 and 2027 in response to

comments). Thus, the actual regulatory text is marked by none of the extreme urgency Plaintiffs

claim they now face.

       Second, the preamble indicates that implementation guidance and tools are forthcoming

from the FBAs with respect to data collection, maintenance and reporting for large banks. See,

e.g., id. at 7060-62, 7065-67, 7075 (describing forthcoming guidance on and templates for

submission of data on delivery systems, deposit products, community development lending and

investment, and deposits data); id. at 6741 (describing FBAs’ intention to develop data tools to

identify geographies for RLAAs and distribution benchmarks); id. at 6579 (“the agencies expect

to develop data reporting guides and technical assistance materials to assist banks in

understanding supervisory expectations with respect to the final rule’s data reporting

requirements”). Because banks subject to the new data collection, maintenance, and reporting

requirements are awaiting this assistance, the assertion of irreparable harms from incurring costs

associated with building or acquiring new information technology systems immediately is

unsupported. See ECF 21 at App. 3 ¶ 8, 9 ¶ 8, 16 ¶ 9, 24 ¶ 9, 31 ¶ 8. Neither Plaintiffs (nor their



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declarants) offer evidence that a bank has actually taken specific steps to hire or train staff,

making the imminent nature of the harms vague and speculative. See Career Colleges & Sch. of

Texas, 2023 WL 4291992, at *6 (“Speculation built upon further speculation does not amount to

a reasonably certain threat of imminent harm and does not warrant injunctive relief.” (internal

quotation marks omitted) (quoting Friends of Lydia Ann Channel v. U.S. Army Corps of Eng’rs,

701 F. App’x 352, 357 (5th Cir. 2017)).28

       Third, while declarants raise vague, alarmist assertions about immense complexity

necessitating immediate action with respect to new RLAAs, no declarant specifies a single

RLAA that any of Plaintiffs’ member banks anticipate it will need to delineate. See, e.g., ECF 21

at App. 16 ¶ 9, 40 ¶ 16, 45 ¶ 8. According to the FBAs’ analysis of 2018-2020 bank lending data,

only 63 large banks would have been required to delineate RLAAs under the Final Rule, had the

Final Rule been in effect over that period. 89 Fed. Reg. at 6740. Of these banks, 19 of the 63

would have had only one RLAA and 20 would have had only two to five RLAAs. Id. at 6741.

The only description offered by Plaintiffs of any such analysis comes in the unsworn statement

of Anonymous Bank B, which tellingly concludes that it, a $3.8 billion institution, does not

anticipate that it will have any RLAAs. ECF 21 at App. 53.

       Finally, conclusory statements of multiple declarants that a large bank will need to “build

out new CRA infrastructure” in the locations of its new RLAAs and ORLA—e.g., ECF 21 at

App. 9-10 ¶ 9, 24 ¶ 10—contradict the text of the Final Rule. There is no expectation that a bank



28
  The agency manual that Plaintiffs cite for their assertion that “immediate” readiness is required
(ECF 21 at App. 40-41 ¶ 17) contains no such language and instead merely guides examiners to
assess the effectiveness of an “institution’s change management processes,” including timely and
satisfactory response to external change. See FDIC’s Consumer Compliance Examination
Manual (updated Jan. 12, 2024), II-13.2-13.3, available at
https://www.fdic.gov/resources/supervision-and-examinations/
consumer-compliance-examination-manual/documents/compliance-examination-manual.pdf.
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establish a physical presence in an RLAA or an ORLA now, nor in 2026 when they might be

delineated for the first time. Indeed, RLAAs and the ORLA are, by definition, geographic areas

where a bank has no deposit-taking facility. 89 Fed. Reg. at 7110, 7114-15.

        Accordingly, Plaintiffs have failed to meet their burden of establishing imminent

nonrecoverable compliance costs stemming from activities to prepare for the Final Rule. Such

activities are vague, unsupported, and contrary to the language in the Final Rule. See

VanDerStok, 633 F. Supp. 3d at 858.

III.    THE BALANCE OF EQUITIES AND THE PUBLIC INTEREST DO NOT
        SUPPORT THE INJUNCTIVE RELIEF SOUGHT
        The balance of equities and the public interest also weigh against enjoining the entire rule

because many aspects of the Final Rule are indisputably beneficial. “If there is reason to believe

that an injunction issued prior to a trial on the merits would be burdensome, the balance tips in

favor of denying preliminary relief.” Texas v. United States, 86 F. Supp. 3d 591, 675 (S.D. Tex.

2015) (citing Winter, 555 U.S. at 27).

        First, and perhaps most importantly, while the provisions Plaintiffs cite in support of their

motion apply almost exclusively to large banks, the rule provides significant regulatory relief and

lower compliance costs by increasing the asset-size thresholds that determine which performance

tests apply to an institution. Specifically, the threshold for classifying an institution as “small” is

being raised: currently, it includes banks with assets under $391 million, and the Final Rule

raises this figure to $600 million. 88 Fed. Reg. at 87897; 89 Fed. Reg. at 6575. Likewise, the

threshold for intermediate banks is currently at a maximum of $1.564 billion, and is being raised

to $2 billion. 88 Fed. Reg. at 87897; 89 Fed. Reg. at 6575. The Final Rule estimates that, because

of these higher asset thresholds, approximately 216 banks will be reclassified as “intermediate”

rather than “large,” and approximately 778 banks will be reclassified as “small” rather than


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“intermediate” (89 Fed. Reg. at 6596), a significant percentage of total depository institutions

(see supra footnote 4). Granting Plaintiffs’ motion would delay regulatory relief for these small

and intermediate institutions, as well as the associated lower compliance costs, for the benefit of

comparatively fewer large institutions. See, e.g., 89 Fed. Reg. at 6740 (estimating that only 63

large banks would be affected by the Final Rule’s approach to RLAAs).

        Second, Plaintiffs’ request to enjoin the entire rule would unnecessarily delay other long-

awaited reforms that Plaintiffs do not challenge, and which have been widely supported by

members of the industry, including large institutions. The Final Rule contains four main

performance tests, yet Plaintiffs’ challenges pertain only to certain components of two of the

performance tests (i.e., the Retail Lending Test and the Retail Services and Products Test).

Plaintiffs do not argue that any component of either the Community Development Financing Test

or the Community Development Services Test supports preliminary relief. See 89 Fed. Reg. at

6577. With respect to these latter two tests, the Final Rule revises and clarifies the criteria for,

and provides for a confirmation of eligibility process and illustrative list of examples of, the

types of loans, investments, and services that the agencies regard as supporting community

development. See id. at 7111-14. These changes have been widely supported and desired by the

regulated community.29 By awarding the relief Plaintiffs seek, the Court would delay these long-


29
   See, e.g., Comment Letter of ABA et al., at 2 (Aug. 5, 2022) (stating support for “provisions
that will give banks greater certainty regarding the activities that will receive credit, allowing
them to concentrate their efforts on providing the products and services that will address
community needs instead of spending time and resources trying to figure out what will count”)
(available at https://www.regulations.gov/comment/OCC-2022-0002-0484); Comment Letter of
ICBA, at 2 (Aug. 5, 2022) (“Modernization of CRA is also needed to provide banks and other
stakeholders greater clarity about which loans and investments are eligible for CRA credit”)
(available at https://www.regulations.gov/comment/OCC-2022-0002-0315); Comment Letter of
Independent Bankers Ass’n of Tex., at 3 (July 27, 2022) (“maintenance of this list [of qualifying
activities] would provide critical certainty as well as appropriate consistency”) (available at
https://www.regulations.gov/comment/OCC-2022-0002-0055); Comment Letter of U.S.


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awaited benefits, depriving all stakeholders of greater clarity with respect to community

development activities.

       Finally, the balance of harms with respect to the component of the Retail Services and

Products Test focused on deposits tips against Plaintiffs because any claimed harm is illusory.

The evaluation of digital delivery systems for deposit services is required only for banks with

more than $10 billion in assets, and for large banks with assets less than or equal to $10 billion

that do not operate branches. 89 Fed. Reg. at 7120. And for deposit products, the rule requires

evaluation only for banks with more than $10 billion in assets. Id. at 7121. None of the

Anonymous Banks that Plaintiffs proffered fit into these categories. See ECF 21 at App. 48 ¶ 3

(assets of approximately $1.8 billion and multiple branches); id. at App. 51 ¶ 2 (assets of $3.8

billion and multiple branches); id. at App. 56 ¶ 2 (assets of $1.6 billion and multiple branches).

       Accordingly, given the significant positive benefits of the Final Rule that have been

unchallenged by Plaintiffs, it would be burdensome to many banks and contrary to the public

interest to enjoin the Rule.

                                         CONCLUSION

       For the foregoing reasons, the FBAs respectfully request that Plaintiffs’ motion for a

preliminary injunction be denied.




Chamber of Commerce, at 3 (Aug. 5, 2022) (“The Chamber appreciates the NPR’s inclusion of a
non-exhaustive list of activities eligible for CRA consideration. . . . Banks want to have the
assurance that the investments they make will receive credit when they make the investment.”)
(available at https://www.regulations.gov/comment/OCC-2022-0002-0448).
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Dated: March 8, 2024

Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2024, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to all counsel

and parties of record registered to receive such notices.


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